             Case 1-18-01052-cec            Doc 4       Filed 04/24/18          Entered 04/24/18 14:07:16


                              UNITED STATES BANKRUPTCY COURT
                                   Eastern District of New York
                               NOTE: All documents filed in this matter must be identified by both
                            adversary and bankruptcy case numbers, case chapter and judge's initials.

In re: FMTB BH LLC                                                                    Bankruptcy Case No.: 1−18−42228−cec

FMTB BH LLC
                                                         Plaintiff(s),
−against−                                                                        Adversary Proceeding No. 1−18−01052−cec
1988 MORRIS AVENUE LLC
1974 MORRIS AVENUE LLC
700 BECK STREET LLC
1143 FOREST AVENUE LLC
1821 TOPPING AVENUE LLC
                                                        Defendant(s)

                    SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
                          IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to submit a motion or answer to the complaint, which is attached to this
summons, to the Clerk of the Bankruptcy Court within 30 days after the date of issuance of this summons, except that
the United States and its offices and agencies shall submit a motion or answer to the complaint within 35 days.

Address of Clerk:
                                                     United States Bankruptcy Court
                                                     271−C Cadman Plaza East, Suite 1595
                                                     Brooklyn, NY 11201−1800
At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.

Name and Address of Plaintiff's
Attorney:
                                            Fred B. Ringel
                                            ROBINSON BROG LEINWAND GREENE GENOVESE &
                                            875 Third Avenue, 9th Floor
                                            New York, NY 10022

If you make a motion, your time to answer is governed by Bankruptcy Rule 7012.

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will be
held at the following time and place.


Location:                                                                                   Date and Time:
United States Bankruptcy Court, 271−C Cadman Plaza East, Courtroom                          June 6, 2018 at 03:30 PM
3529 − 3rd Floor, Brooklyn, NY 11201−1800


IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT, AND JUDGMENT BY DEFAULT
MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.
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Dated: April 24, 2018                                             Robert A. Gavin, Jr., Clerk of the Court



Summons [Summons and Notice of Pretrial Conf. rev. 05/27/2016]
